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 1                                  UNITED STATES DISTRICT COURT
 2                                          DISTRICT OF NEVADA
 3
     UNITED STATES OF AMERICA,                              )
 4                                                          )
                             Plaintiff,                     )        Case No.: 2:14-cr-0321-GMN-NJK
 5          vs.                                             )
 6                                                          )                       ORDER
     KEITH WILLIAMS,                                        )
 7                                                          )
                             Defendant.                     )
 8                                                          )
 9
10           Pending before the Court is the Report and Recommendation of United States
11   Magistrate Judge Nancy J. Koppe (ECF No. 137), which recommends denying Defendant Keith
12   William’s Motion to Suppress (ECF No. 132).
13           Title 28, United States Code, Section 636 provides that a party’s objection shall be
14   served and filed within fourteen days of the Magistrate Judge’s Report and Recommendation.
15   28 U.S.C. § 636(b)(1). Here, Judge Koppe filed her Report and Recommendation on February
16   2, 2016 (ECF No. 137), and Defendant filed an Objection twenty-two days later on February
17   24, 2016 (Obj., ECF No. 144). 1 Accordingly, the Court finds that Defendant’s Objection is
18   untimely.
19           Even if the Court were to consider Defendant’s Objection on the merits, 2 the Court finds
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     1
       This late objection is not Defendant’s first untimely filing. Defendant’s Motion to Suppress (ECF No. 132)
22   was filed untimely as well. (R. & R. 1:16–2:1, ECF No. 137). Nevertheless, Judge Koppe considered
     Defendant’s motion on the merits, “[d]espite the late nature of these filings.” (Id.).
     2
23     Defendant’s Motion to Suppress was filed by Defendant’s attorney but as a pro se motion. (See ECF No. 132).
     Current defense counsel Todd M. Leventhal is Defendant’s fourth appointed attorney in this case. At a hearing
24   on Defendant’s Motion to Withdraw as Attorney of Record (ECF No. 114), Judge Koppe denied Defendant’s
     Motion to Withdraw but allowed Defendant leave to file up to four motions pro se. (ECF No. 119); (see also R.
25   & R. 1:16–19). In light of Defendant’s pro se status for the instant motion, the Court has liberally construed
     Defendant’s filings, holding them to standards less stringent than formal pleadings drafted by attorneys. See
     Erickson v. Pardus, 551 U.S. 89, 94 (2007).

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 1   that the Objection fails to point to any specific errors in the Report and Recommendation.
 2   Rather, Defendant’s Objection amounts to little more than the reassertion of the same
 3   arguments presented in Defendant’s Motion to Suppress. (See ECF No. 144).
 4         Accordingly,
 5         IT IS HEREBY ORDERED that the Report and Recommendation (ECF No. 137) is
 6   ADOPTED in full.
 7         IT IS FURTHER ORDERED that Defendant’s Motion to Suppress (ECF No. 132) is
 8   DENIED.
 9                     9 day of May, 2016.
           DATED this ___
10
11                                                ___________________________________
                                                  Gloria M. Navarro, Chief Judge
12                                                United States District Court
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